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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 BRANDI BOROUGERDI,

                  Plaintiff,

 v.                                              Civil Action No. 4:19-CV-403-O

 UNITED STATES OF AMERICA,

                  Defendant.

                    DEFENDANT UNITED STATES OF AMERICA’S
                             ORIGINAL ANSWER

        Defendant United States of America (United States) files this answer and defenses

to Plaintiff Brandi Borougerdi’s Original Complaint (Dkt 1), and would respectfully

show the Court as follows:

                               I.   Parties & Service of Citation

1.00    The United States lacks sufficient information to admit or deny Plaintiff’s

        allegations regarding his legal status or residency, and thus, the allegations are

        denied.


1.01    Paragraph 1.01 states a legal conclusion regarding service of process to which no

        response is required. The United States admits that a copy of the summons and

        complaint was received by the United States Attorney’s Office, 1100 Commerce

        Street, Third Floor, Dallas, Texas 75242 on June 6, 2019. Any other allegations of

        fact are denied.




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                                 II.   Jurisdiction & Venue

2.00    The United States admits that the Federal Tort Claims Act, 28 U.S.C. § 2671, et

seq. and 28 U.S.C. § 1346(b) for money damages, is the exclusive remedy for tort claims

against the United States.


2.01    Paragraph 2.01 states a legal conclusion regarding venue to which no response is

required, with an averment that, the United States does not challenge venue in this action

based upon the information presently known. The United States admits that the alleged

event occurred in Tarrant County, Texas.


                                III.   Conditions Precedent

3.0     The United States admits the United States Postal Service (USPS) received a tort

claim from Plaintiff on July 2, 2018, and the USPS issued a final denial on March 28,

2019. The remainder of Paragraph 3.0 states a legal conclusion regarding conditions

precedent to which no response is required.


IV.     The United States Postal Service is an Agency of the United States of America

4.0     The United States admits that the USPS is an agency of the United States.

Defendant lacks sufficient knowledge to admit or deny the remaining allegations of fact.


               V.   Employment, Course and Scope & Respondeat Superior

5.0     The United States admits that the driver of the vehicle at issue in this dispute is an

employee of the USPS and was acting in the course and scope of her employment at the

time of a minor vehicle accident.



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5.01    Paragraph 5.01 states a legal conclusion regarding Plaintiff’s theory of respondeat

superior to which no response is required. Any allegations of fact are denied.


                                VI.   Factual Background

6.0     The United States admits that an employee of the USPS was involved in a minor

vehicle accident on July 5, 2016 but denies the remaining allegations of fact. The

remaining allegations in paragraph 6.0 state one or more legal conclusions to which no

response is required.


6.01    The United States admits Darla Park, a USPS employee, was involved in a minor

vehicle accident on July 5, 2016. The United States lacks sufficient information to admit

or deny any other allegations of fact not previously admitted.


                        VII.   Agency & Respondent [sic] Superior

7.0     The United States admits that Darla Park, a USPS employee, was acting in the

course and scope of her employment at the time of a minor vehicle accident on July 5,

2016.


7.01    The United States admits that Darla Park, a USPS employee, was acting in the

course and scope of her employment at the time of a minor vehicle accident on July 5,

2016.


7.02    Paragraph 7.02 states a legal conclusion regarding Plaintiff’s theory of respondeat

superior to which no response is required. Any allegations of fact are denied.




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               VIII.   Cause of Action Against the United States of America

8.0     Paragraph 8.0 states one or more legal conclusions regarding alleged negligence to

which no response is required. Any allegations of fact are denied.


8.01    Paragraph 8.01 states one or more legal conclusions regarding alleged negligence

to which no response is required. Any allegations of fact are denied.


8.02    Paragraph 8.02 states one or more legal conclusions regarding alleged negligence

to which no response is required. Any allegations of fact are denied.


                                       IX.     Damages

9.0     The United States denies Plaintiff is entitled to the relief sought in paragraph 9.0.


                                X.     Demand for Jury Trial

10.0    The United States denies that Plaintiff is entitled to a jury trial pursuant to 28

U.S.C. § 2402.


                                  PRAYER FOR RELIEF

        The next section of Plaintiff’s claim contains a prayer for relief, to which no

response is required. The United States denies that Plaintiff is entitled to recovery any

sum in excess of the amount claimed in her administrative claim or prejudgment interest

pursuant to 28 U.S.C. §§ 2674-75.




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                                XI.     GENERAL DENIAL

        Any allegation or averment contained in Plaintiff’s Original Complaint that has

not been specifically and expressly admitted or explained by the United States herein is

denied.

                                      XII.   DEFENSES

        As separate and complete defenses hereto, and without waiving any of the above,

the United States offers the following:

Defense 1.

        The United States preserves any and all defenses, not currently known, which it

has or through discovery it learns may be applicable.

Defense 2.

        Plaintiff fails to state a claim upon which relief can be granted.

Defense 3.

        Plaintiff failed to exhaust administrative remedies, which is a prerequisite to suit,

including any claims that did not provide the agency with facts sufficient to allow the

claim to be investigated. 28 U.S.C. § 2675; Life Partners, Inc. v. United States, 650 F.3d

1026, 1029 (5th Cir. 2011); Adams v. United States, 615 F.2d 284, 289 (5th Cir. 1980).

Defense 4.

        The United States is immune from suit, except to the extent the United States

waived immunity for tort claims under the Federal Tort Claims Act, which is Plaintiff’s

exclusive remedy for the tort claims against it. See In re Supreme Beef Processors, Inc.,

468 F.3d 248, 251-52 (5th Cir. 2006).

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Defense 5.

        The United States has not waived sovereign immunity under the FTCA for any

acts or omissions of its independent contractors.

Defense 6.

        The United States asserts it has not waived sovereign immunity under the FTCA

for any intentional torts.

Defense 7.

        The United States, through its employees and agents, acted with due care and

diligence at all relevant times and violated no legal duty owed to Plaintiff.

Defense 8.

        The liability of the United States, Plaintiff’s cause(s) of action, or Plaintiff’s

recovery, if any, is limited by federal or state common or statutory law to the extent it is

not inconsistent with the FTCA.

Defense 9.

        Plaintiff’s claims are barred by contributory negligence by failing to exercise

ordinary care for her own safety and avail herself of the last clear chance to avoid the

alleged injuries. Plaintiff’s Original Complaint sets forth injuries that resulted from a

danger whose existence and character was fully appreciated by Plaintiff before Plaintiff

voluntarily exposed herself to it.

Defense 10.

        Plaintiff’s claims are barred by the contributory negligence of third parties.




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Defense 11.

        To the extent that Plaintiff’s damages are related to, or consist of, preexisting or

subsequent injuries not caused by any of the United States’ alleged acts or omissions, any

recovery of damages should be denied.

Defense 12.

        In the event the United States is found to have been negligent, which negligence is

denied, Plaintiff’s negligence or the negligence of third parties was the proximate cause

of and contributed to any alleged injuries or damages sustained, thereby barring recovery,

or alternatively, mandating that any recovery be proportionately reduced. See e.g., 28

U.S.C. §§ 2674, 2678; 31 U.S.C. § 1304; TEX. CIV. PRAC. & REM. CODE § 33.001 et seq.

Defense 13.

        The United States is not liable for Plaintiff’s alleged injuries to the extent that

Plaintiff’s or another actor’s or actors’ negligence was an intervening or superseding

cause of the alleged injuries.

Defense 14.

        The United States is not liable for the negligent acts or omissions, or contributory

negligence of third parties, if any.

Defense 15.

        The United States is not liable for Plaintiff’s alleged injuries to the extent that

Plaintiff failed to mitigate same prior to the incident that forms the basis of this lawsuit,

including but not limited to Plaintiff’s violations of legal standards and/or negligent acts

or omissions.


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Defense 16.

        The United States is not liable for damages to the extent that Plaintiff failed to

mitigate her damages.

Defense 17.

        The United States is entitled to the benefits of any common or statutory law of

Texas that serves to cap or limit damages or liability, including a limit on Plaintiff’s non-

economic relief to an amount not to exceed $250,000 under TEX. CIV. PRAC. & REM.

CODE § 74.301.

Defense 18.

        Pursuant to TEX. CIV. PRAC. & REM. CODE §§ 74.502 and 74.503, Plaintiff’s

recovery may be subject to a request for periodic payments for (a) any medical, health

care or custodial services awarded or (b) any future damages other than medical, health

care or custodial services awarded.

Defense 19.

        Plaintiff’s recovery for medical or health care expenses incurred is limited to the

amount actually paid or incurred by or on behalf of the claimant. TEX. CIV. PRAC. &

REM. CODE § 40.0105.

Defense 20.

        The United States asserts its entitlement to any allowable credits or offsets against

a judgment, if any, in favor of Plaintiff.




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Defense 21.

        Pursuant to Texas state law, the United States is entitled to set-off, contribution,

credit, etc. for any amounts paid by any settling defendant or non-party who could have

been named as a defendant in this cause of action.

Defense 22.

        Plaintiff may not recover in excess of the amount claimed in the administrative

claim pursuant to 28 U.S.C. § 2675(b).

Defense 23.

        To the extent Plaintiff requests equitable relief, not monetary damages, such relief

is not cognizable under the FTCA. 28 U.S.C. § 1346(b)(1).

Defense 24.

        Plaintiff is not entitled to pre-judgment interest or punitive damages against the

United States pursuant to 28 U.S.C. § 2674.

Defense 25.

        Plaintiff is not entitled to an award of costs, except as provided by 28 U.S.C.

§ 2412.

Defense 26.

        Attorneys’ fees are only recoverable as part of the judgment and not in addition

thereto, and may not exceed the percentages specified in 28 U.S.C. § 2678.

Defense 27.

        Pursuant to 28 U.S.C. § 2402, Plaintiff is not entitled to a jury.




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                            XIII.    PRAYER FOR RELIEF

        Having fully answered Plaintiff’s complaint, the United States respectfully

requests that judgment be granted in its favor, dismissing Plaintiff’s Original Complaint

with prejudice, with Plaintiff to bear the costs of defending this litigation, and for such

other relief to which the United States is justly entitled.


 Dated: August 6, 2019                            Respectfully submitted,

                                                  ERIN NEALY COX
                                                  UNITED STATES ATTORNEY

                                                  s/ Marti Cherry
                                                  Mary M. (Marti) Cherry
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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of August 2019 a true and correct copy of the

foregoing was electronically filed and served on the parties via the Court’s CM/ECF

system.



                                                 /s/ Mary M. (Marti) Cherry
                                                 Mary M. (Marti) Cherry
                                                 Assistant United States Attorney



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